     Case 2:10-cr-00284-APG-PAL       Document 195     Filed 05/30/12      Page 1 of 1


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 6                             UNITED STATES DISTRICT CO URT
 7                                     DISTR ICT O F NEV A D A

 8 UNITED STATESOF AM ERICA,                      )
                                                  )
 9                      IPlaintiff,               )
                                                  )
10          v.                                    )        2:10-CR-284-RLH IPAQ
                                                  )
1l JINIMY W ILSON,                                )
                                                  )
12                       Defendant.               )
13                                    O R DER O F FO R FEITUR E
14          ThisCourtföund on M arch 2,2011,thatJIM M Y W ILSON shallpay a crim inalforfeiture

15 moneyjudgmentof$468,473.00inUnitedStatesCurrency,pursuanttoFed.R.Crim.P.32.2(18(1)
16 and(2))Title18,UnitedSGtesCode,Section9:l(a)(1)(C)andTitle28,UnitedStztesCode,Section
17 2461(c);Titlel8sunitedStatesCode,Section982(a)(2)(A);andTitle21,UnitedStatesCode,Section
18 853(18.OrderofFoe iture,ECF No.64.
19          THEREFORE,ITISHEREBY ORDERED,ADJUDGED,ANl7DEcM lm thattheunited
20 States recoverfrom IIM M Y W ILSON a criminalforfeiture moneyjudgmentin the amotmtof
                        I
21 $468,473.% inUnitetSttesCurrencypttrsuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title l8,
22 UnitedSGtesCode,S/ction981(a)(1)(C)andTitle2% UnitedStatesCode,Section2461(c);Title18,
23 UnitedSàtesCode,Section982(a)(2)(A);andTitle21,United StatesCode,Section 853418.
24          D A TED this :...-Yt) dayof                    ,2012.
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26                                                                    '
                                              U NIT   ST    ES D IS       CT JU G E


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